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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                163-165 East 62nd Street Holding LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Aspen Management Group LLC
                                  3140 East Tremont Avenue
                                  2nd Floor
                                  Bronx, NY 10461
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Westchester                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor
                                                                             Pg 2 of 103   Case number (if known)
          163-165 East 62nd Street Holding LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Michael P. D'Alessio                                       Relationship              Manager
                                                             Southern District of
                                                  District   New York                      When       4/17/18           Case number, if known     18-22552




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Debtor
                                                                           Pg 3 of 103   Case number (if known)
         163-165 East 62nd Street Holding LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                                         Pg 4 of 103   Case number (if known)
          163-165 East 62nd Street Holding LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 7, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael P. D'Alessio                                                Michael P. D'Alessio
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Sanford P. Rosen                                                     Date June 7, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Sanford P. Rosen (SR-4966)
                                 Printed name

                                 Rosen & Associates, P.C.
                                 Firm name

                                 747 Third Avenue
                                 Floor 20
                                 New York, NY 10017-2803
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 223-1100                Email address      srosen@rosenpc.com

                                 (SR-4966) NY
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 7, 2018                            X /s/ Michael P. D'Alessio
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael P. D'Alessio
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       18,950,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         18,950,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     The Westchester Bank                                    Checking                        3044                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         163-165 East 62nd Street Holding LLC                                         Case number (If known)
                Name



                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    163-165 East 62nd Street Associates LLC                        100       %                                          Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                              $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         163-165 East 62nd Street Holding LLC                                         Case number (If known)
                Name

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 3
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 Debtor          163-165 East 62nd Street Holding LLC                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name         163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $150,000.00
           1516 Realty Group LLC                                                Contingent
           97-77 Queens Blvd, TWR 3                                             Unliquidated
           Rego Park, NY 11374
                                                                                Disputed
           Date(s) debt was incurred 5/9/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $100,000.00
           Adam Fields                                                          Contingent
           9769 Apricot Lane                                                    Unliquidated
           Beverly Hills, CA 90210
                                                                                Disputed
           Date(s) debt was incurred 7/30/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $100,000.00
           Allan Miller                                                         Contingent
           12 North Lane Drive                                                  Unliquidated
           Armonk, NY 10504
                                                                                Disputed
           Date(s) debt was incurred     6/27/16
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $200,000.00
           Andrew West                                                          Contingent
           33 Gateway Drive                                                     Unliquidated
           Great Neck, NY 11021
                                                                                Disputed
           Date(s) debt was incurred 8/8/16
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 23
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 Debtor       163-165 East 62nd Street Holding LLC                                                    Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Anita Gupta                                                           Contingent
          2123 Williamsbridge Road                                              Unliquidated
          Bronx, NY 10461
                                                                                Disputed
          Date(s) debt was incurred 7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Anthony Bastone                                                       Contingent
          1913 Bronxdale Ave                                                    Unliquidated
          Bronx, NY 10462
                                                                                Disputed
          Date(s) debt was incurred      11/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Anthony Bonomo Jr.                                                    Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $450,000.00
          Anthony Bonomo Sr.                                                    Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Antonio Zaino                                                         Contingent
          7 South Ridge Road                                                    Unliquidated
          Brookfield, CT 06804
                                                                                Disputed
          Date(s) debt was incurred      5/16/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Arnold Waldman                                                        Contingent
          581 Leheigh Lane                                                      Unliquidated
          Woodmere, NY 11598
                                                                                Disputed
          Date(s) debt was incurred 7/12/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Attis Properties Inc                                                  Contingent
          Attn: Michael Kohn                                                    Unliquidated
          500 Mamaroneck Ave, Suite 320
                                                                                Disputed
          Harrison, NY 10528
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/18/16
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Barbara Fiederlein Trust,                                             Contingent
          David Fiederlein, Trustee                                             Unliquidated
          56 Majestic Ridge
                                                                                Disputed
          Carmel, NY 10512
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/31/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Barry Blitstein                                                       Contingent
          55 Ocean Avenue, #6B                                                  Unliquidated
          Monmouth Beach, NJ 07750
                                                                                Disputed
          Date(s) debt was incurred 7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Barry Drucker                                                         Contingent
          20 Long Ledge Drive                                                   Unliquidated
          Rye Brook, NY 10573
                                                                                Disputed
          Date(s) debt was incurred      6/25/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Barry Ipp                                                             Contingent
          27 West Rock Trail                                                    Unliquidated
          Stamford, CT 06902
                                                                                Disputed
          Date(s) debt was incurred      8/7/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Bruce Azus                                                            Contingent
          9 Bensin Drive                                                        Unliquidated
          Melville, NY 11747
                                                                                Disputed
          Date(s) debt was incurred      8/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Canzone Contracting Corp                                              Contingent
          218 W. Lincoln Ave                                                    Unliquidated
          Mount Vernon, NY 10550
                                                                                Disputed
          Date(s) debt was incurred 8/7/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Carl Bonomo                                                           Contingent
          49 Harvard Drive                                                      Unliquidated
          Plainview, NY 11803
                                                                                Disputed
          Date(s) debt was incurred      8/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Carmine Lippolis                                                      Contingent
          25 Seventh Street                                                     Unliquidated
          Pelham, NY 10803
                                                                                Disputed
          Date(s) debt was incurred      4/29/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Carol Merkel                                                          Contingent
          323 Polaris Street                                                    Unliquidated
          Dauphin Island, AL 36528
                                                                                Disputed
          Date(s) debt was incurred 8/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Chantal Pick                                                          Contingent
          866 Evergreen Drive                                                   Unliquidated
          West Hempstead, NY 11552
                                                                                Disputed
          Date(s) debt was incurred 8/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Charles Barovian                                                      Contingent
          1763 West 9th Street                                                  Unliquidated
          Brooklyn, NY 11223
                                                                                Disputed
          Date(s) debt was incurred      12/1/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Clifford & Gail Bassett                                               Contingent
          535 East 86th Street                                                  Unliquidated
          Apt #6J
                                                                                Disputed
          New York, NY 10028
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/4/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Cohen Children Trust, David                                           Contingent
          Cohen Trustee                                                         Unliquidated
          1875 Julian Lane
                                                                                Disputed
          Merrick, NY 11566
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/6/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Conrad Strohl                                                         Contingent
          2 Larch Lane                                                          Unliquidated
          Marlboro, NJ 07746
                                                                                Disputed
          Date(s) debt was incurred      8/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Cy Blanco                                                             Contingent
          104 Mildred Parkway                                                   Unliquidated
          New Rochelle, NY 10804
                                                                                Disputed
          Date(s) debt was incurred 5/2/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Cynthia Petretti                                                      Contingent
          4 North Lane                                                          Unliquidated
          Mahopac, NY 10541
                                                                                Disputed
          Date(s) debt was incurred      7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Daniel Rifkin                                                         Contingent
          P.O. Box 9338                                                         Unliquidated
          Bardonia, NY 10954
                                                                                Disputed
          Date(s) debt was incurred      5/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Darren Kay                                                            Contingent
          19 Fells Drive                                                        Unliquidated
          Manalapan, NJ 07726
                                                                                Disputed
          Date(s) debt was incurred 7/30/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          David & Susan Diamond                                                 Contingent
          3677 East Tremont Ave                                                 Unliquidated
          Bronx, NY 10465
                                                                                Disputed
          Date(s) debt was incurred 12/30/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          David Bauer                                                           Contingent
          31 Deepwood Road                                                      Unliquidated
          Wilton, CT 06897
                                                                                Disputed
          Date(s) debt was incurred      8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          David Katz                                                            Contingent
          19 Cob Drive                                                          Unliquidated
          Westport, CT 06880
                                                                                Disputed
          Date(s) debt was incurred      7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          David Levy                                                            Contingent
          25 Wren Drive                                                         Unliquidated
          Roslyn, NY 11576
                                                                                Disputed
          Date(s) debt was incurred      8/24/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          David S. Cohen                                                        Contingent
          48 Chester Ct                                                         Unliquidated
          Cortlandt Manor, NY 10567
                                                                                Disputed
          Date(s) debt was incurred 2/5/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          David Tesser                                                          Contingent
          1800 Merrick Road                                                     Unliquidated
          Merrick, NY 11566
                                                                                Disputed
          Date(s) debt was incurred      8/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Dennis Korchinski                                                     Contingent
          38 Red Oak Road                                                       Unliquidated
          Fairfield, CT 06824
                                                                                Disputed
          Date(s) debt was incurred      10/7/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $850,000.00
          Diamond Enterprises LLC                                               Contingent
          3677 East Tremont Ave                                                 Unliquidated
          Bronx, NY 10465
                                                                                Disputed
          Date(s) debt was incurred 4/23/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Dodd Farber                                                           Contingent
          27 Wampus Lake Drive                                                  Unliquidated
          Armonk, NY 10504
                                                                                Disputed
          Date(s) debt was incurred 7/6/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Donald Konrad                                                         Contingent
          68 Pearl Farm Road                                                    Unliquidated
          Stamford, CT 06902
                                                                                Disputed
          Date(s) debt was incurred      7/12/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Douglas Scibelli                                                      Contingent
          124 Ludlow Street                                                     Unliquidated
          Apt 4C
                                                                                Disputed
          New York, NY 10002
                                                                             Basis for the claim:
          Date(s) debt was incurred      12/11/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Dov Kesselman                                                         Contingent
          317 Chestnut Street                                                   Unliquidated
          West Hempstead, NY 11552
                                                                                Disputed
          Date(s) debt was incurred 8/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Ed Tesser                                                             Contingent
          2536 Army Place                                                       Unliquidated
          Bellmore, NY 11710
                                                                                Disputed
          Date(s) debt was incurred      8/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Elizabeth Armstrong                                                   Contingent
          10041 Sasser Lane                                                     Unliquidated
          Mobile, AL 36695
                                                                                Disputed
          Date(s) debt was incurred      3/23/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Erin Diamond                                                          Contingent
          3677 East Tremont Ave                                                 Unliquidated
          Bronx, NY 10465
                                                                                Disputed
          Date(s) debt was incurred 2/19/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $350,000.00
          Fallon Rose LLC                                                       Contingent
          Attn: Owen Grant                                                      Unliquidated
          82 Wellington Road
                                                                                Disputed
          Garden City, NY 11530
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/17/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Fiederlein Family 2012 Gift Tr                                        Contingent
          ust, B. Fiederlein Trustee                                            Unliquidated
          56 Majestic Ridge
                                                                                Disputed
          Carmel, NY 10512
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/31/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Friedricks Associates LTD                                             Contingent
          Attn: Darryl Friedrick                                                Unliquidated
          235 W 76th Street, #5E
                                                                                Disputed
          New York, NY 10023
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/20/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Gerald Levy                                                           Contingent
          c/o Neil Levy                                                         Unliquidated
          36 Woodmont Rd
                                                                                Disputed
          Melville, NY 11747
                                                                             Basis for the claim:
          Date(s) debt was incurred      8/7/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Glenn Messinger                                                       Contingent
          5 Clipper Way                                                         Unliquidated
          Marblehead, MA 01945
                                                                                Disputed
          Date(s) debt was incurred 7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,100,000.00
          Golden Touch Investments LLC                                          Contingent
          343 Sperry Road                                                       Unliquidated
          Bethany, CT 06524
                                                                                Disputed
          Date(s) debt was incurred 1/15/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $600,000.00
          Grant & Fox LLC                                                       Contingent
          139 Fulton Street                                                     Unliquidated
          Room 907
                                                                                Disputed
          New York, NY 10038
                                                                             Basis for the claim:
          Date(s) debt was incurred      1/26/16
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Gregory Calabro                                                       Contingent
          22 Essex Road                                                         Unliquidated
          Maplewood, NJ 07040
                                                                                Disputed
          Date(s) debt was incurred 8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Harrilyn Dolman                                                       Contingent
          215 Montecito Crescent                                                Unliquidated
          Melville, NY 11747
                                                                                Disputed
          Date(s) debt was incurred 8/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Harvey Stevens                                                        Contingent
          8 East 83rd Street                                                    Unliquidated
          Apt 10F
                                                                                Disputed
          New York, NY 10028
                                                                             Basis for the claim:
          Date(s) debt was incurred      8/1/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Herminio Torres                                                       Contingent
          6916 58th Road                                                        Unliquidated
          Maspeth, NY 11378
                                                                                Disputed
          Date(s) debt was incurred      12/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Hewlett Trading Co LLC                                                Contingent
          Attn: Richard Berman                                                  Unliquidated
          3421 Hewlett Avenue
                                                                                Disputed
          Merrick, NY 11566
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/9/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Integrated Electronic                                                 Contingent
          Solutions Inc                                                         Unliquidated
          1053 Saw Mill River Rd
                                                                                Disputed
          Yonkers, NY 10710
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/4/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Jack Perlman                                                          Contingent
          35 West 94th Street                                                   Unliquidated
          New York, NY 10025
                                                                                Disputed
          Date(s) debt was incurred      10/13/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Jaclyn Bonomo                                                         Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Jacqueline Martinez                                                   Contingent
          9 Thomas Drive                                                        Unliquidated
          Hauppauge, NY 11788
                                                                                Disputed
          Date(s) debt was incurred 12/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Jason Griffith                                                        Contingent
          66 Hillside Crescent                                                  Unliquidated
          New Rochelle, NY 10804
                                                                                Disputed
          Date(s) debt was incurred 6/21/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Jeffrey Mortman                                                       Contingent
          2 Stratton Drive                                                      Unliquidated
          Wayne, NJ 07470
                                                                                Disputed
          Date(s) debt was incurred      8/14/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Jeffrey Pinsky                                                        Contingent
          22 Highfield Avenue                                                   Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 7/7/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Jerry Pinsky                                                          Contingent
          163 Pondview Drive                                                    Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 7/25/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          John Bonito                                                           Contingent
          9 Halock Drive                                                        Unliquidated
          Greenwich, CT 06831
                                                                                Disputed
          Date(s) debt was incurred 7/27/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          John Cannon                                                           Contingent
          15 Farmington Lane                                                    Unliquidated
          Melville, NY 11747
                                                                                Disputed
          Date(s) debt was incurred      8/7/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          John Ernenwein                                                        Contingent
          51 Osborne Road                                                       Unliquidated
          Garden City, NY 11530
                                                                                Disputed
          Date(s) debt was incurred 8/10/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Jon Hansburg                                                          Contingent
          19 Smith Farm Road                                                    Unliquidated
          Bedford, NY 10506
                                                                                Disputed
          Date(s) debt was incurred      8/12/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $300,000.00
          Joseph Breda                                                          Contingent
          438 Fifth Ave                                                         Unliquidated
          Pelham, NY 10803
                                                                                Disputed
          Date(s) debt was incurred      7/20/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Joseph Dinoia                                                         Contingent
          15833 Double Eagle Trail                                              Unliquidated
          Delray Beach, FL 33446
                                                                                Disputed
          Date(s) debt was incurred 8/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Josh Manson                                                           Contingent
          54 The Oaks                                                           Unliquidated
          Roslyn, NY 11576
                                                                                Disputed
          Date(s) debt was incurred      8/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Joshua & Angie Brown                                                  Contingent
          15 Tally Ho Lane                                                      Unliquidated
          Stamford, CT 06905
                                                                                Disputed
          Date(s) debt was incurred 6/10/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Judah Hammer                                                          Contingent
          301 Eastwood Road                                                     Unliquidated
          Woodmere, NY 11598
                                                                                Disputed
          Date(s) debt was incurred 8/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Julianne Bonomo                                                       Contingent
          10 Walter Lane                                                        Unliquidated
          Manhasset, NY 11030
                                                                                Disputed
          Date(s) debt was incurred 8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Keith Hummel                                                          Contingent
          10 Carriage Hill Road                                                 Unliquidated
          West Harrison, NY 10604
                                                                                Disputed
          Date(s) debt was incurred 8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Kurt Voellmicke                                                       Contingent
          20 Belvedere Court                                                    Unliquidated
          Ridgefield, CT 06877
                                                                                Disputed
          Date(s) debt was incurred      9/9/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Lawrence & Fara Tesser                                                Contingent
          1968 Melthew Ct                                                       Unliquidated
          Merrick, NY 11566
                                                                                Disputed
          Date(s) debt was incurred 8/15/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Lawrence Dolin                                                        Contingent
          11 Sands Court                                                        Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 10/22/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Lillian Fazio                                                         Contingent
          8716 Crystal Rock Lane                                                Unliquidated
          Laurel, MD 20708
                                                                                Disputed
          Date(s) debt was incurred 8/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Lisa West                                                             Contingent
          33 Gateway Drive                                                      Unliquidated
          Great Neck, NY 11021
                                                                                Disputed
          Date(s) debt was incurred 10/23/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Luis Flores                                                           Contingent
          11594 N. Quandry Dr                                                   Unliquidated
          Tucson, AZ 85737
                                                                                Disputed
          Date(s) debt was incurred      4/29/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Luise Barrack                                                         Contingent
          47 Beechwood Road                                                     Unliquidated
          Irvington, NY 10533
                                                                                Disputed
          Date(s) debt was incurred      11/4/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $500,000.00
          MAF Realty Ventures LLC                                               Contingent
          Attn: Michael Finamore                                                Unliquidated
          8 Engineers Road
                                                                                Disputed
          Roslyn, NY 11576
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/19/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Maria Pedersen                                                        Contingent
          12 Byram Meadows                                                      Unliquidated
          Chappaqua, NY 10514
                                                                                Disputed
          Date(s) debt was incurred 5/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Marilyn Shendell                                                      Contingent
          7 Sunrise Drive                                                       Unliquidated
          Armonk, NY 10504
                                                                                Disputed
          Date(s) debt was incurred      6/27/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Mark Engel                                                            Contingent
          1 Forest Drive                                                        Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 7/12/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Mary Middelton                                                        Contingent
          3930 Grand Ave #308                                                   Unliquidated
          Des Moines, IA 50312
                                                                                Disputed
          Date(s) debt was incurred 12/16/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Matthew Engel                                                         Contingent
          19 Soundview                                                          Unliquidated
          Port Washington, NY 11050
                                                                                Disputed
          Date(s) debt was incurred 7/12/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Michael & Virginia Salvemini                                          Contingent
          51 Stoney Drive                                                       Unliquidated
          Palm Beach Gardens, FL 33410
                                                                                Disputed
          Date(s) debt was incurred 12/19/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Michael Burden                                                        Contingent
          45 Stonewall Circle                                                   Unliquidated
          West Harrison, NY 10604
                                                                                Disputed
          Date(s) debt was incurred 7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Michael Eigner                                                        Contingent
          3674 Toulouse Drive                                                   Unliquidated
          Palm Beach Gardens, FL 33410
                                                                                Disputed
          Date(s) debt was incurred 7/15/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Michael Kesselman                                                     Contingent
          317 Chestnut Street                                                   Unliquidated
          West Hempstead, NY 11552
                                                                                Disputed
          Date(s) debt was incurred 8/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Michael Shenker                                                       Contingent
          113 Harrison Road                                                     Unliquidated
          Wayne, NJ 07470
                                                                                Disputed
          Date(s) debt was incurred      8/4/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Michele DeFranco                                                      Contingent
          27 Valley Terrace                                                     Unliquidated
          Rye Brook, NY 10573
                                                                                Disputed
          Date(s) debt was incurred      8/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Monica Spier Rev.Trust U/A                                            Contingent
          7/29/14, Monica Spier Trustee                                         Unliquidated
          120 Bennett Ave. Apt 4L
                                                                                Disputed
          New York, NY 10033
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/15/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Nadia Nedelcheva                                                      Contingent
          835 Woodbine Ave                                                      Unliquidated
          Mamaroneck, NY 10543
                                                                                Disputed
          Date(s) debt was incurred 2/24/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Nathan & Pearl Halegua                                                Contingent
          c/o Jonis Realty                                                      Unliquidated
          6 Grace Ave, 4th Fl
                                                                                Disputed
          Great Neck, NY 11021
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/22/16
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Neil Levy                                                             Contingent
          36 Woodmont Road                                                      Unliquidated
          Melville, NY 11747
                                                                                Disputed
          Date(s) debt was incurred      8/12/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Neil Ptashnik                                                         Contingent
          40 Forest Lake Drive                                                  Unliquidated
          West Harrison, NY 10604
                                                                                Disputed
          Date(s) debt was incurred 7/29/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Nellie Giblaint                                                       Contingent
          10045 Waterford Way                                                   Unliquidated
          Mobile, AL 36695
                                                                                Disputed
          Date(s) debt was incurred 3/23/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Nicholas Guerriero                                                    Contingent
          7 Baltusrol Drive                                                     Unliquidated
          Purchase, NY 10577
                                                                                Disputed
          Date(s) debt was incurred      10/1/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          P & R Family LLC                                                      Contingent
          Attn: Rochelle Kesselman                                              Unliquidated
          P.O. Box 549
                                                                                Disputed
          West Hempstead, NY 11552
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/11/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Paul Bunt                                                             Contingent
          21150 NE 38th Ave                                                     Unliquidated
          Apt 2901
                                                                                Disputed
          Aventura, FL 33180
                                                                             Basis for the claim:
          Date(s) debt was incurred      12/11/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          PCJ Investments LLC                                                   Contingent
          Attn: Greg Blatt                                                      Unliquidated
          26 Flower House Drive
                                                                                Disputed
          Fairfield, CT 06824
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/1/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Pensco Trust Company                                                  Contingent
          FBO Howard Rosen                                                      Unliquidated
          P.O. Box 173859
                                                                                Disputed
          Denver, CO 80217
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/11/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Pensco Trust Company                                                  Contingent
          FBO James Wacht                                                       Unliquidated
          600 Madison Ave
                                                                                Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/6/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Peter Dreyfuss                                                        Contingent
          440 East 79th Street                                                  Unliquidated
          Apt 12B
                                                                                Disputed
          New York, NY 10075
                                                                             Basis for the claim:
          Date(s) debt was incurred      8/7/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Peter Rosenthal                                                       Contingent
          23 Percheron Lane                                                     Unliquidated
          Roslyn Heights, NY 11577
                                                                                Disputed
          Date(s) debt was incurred 10/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Philip Fiederlein                                                     Contingent
          4 North Lane                                                          Unliquidated
          Mahopac, NY 10541
                                                                                Disputed
          Date(s) debt was incurred      7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Philip Goldstein Living Trust                                         Contingent
          P. Goldstein Trustee                                                  Unliquidated
          3975 Segwick Ave Apt 4H
                                                                                Disputed
          Bronx, NY 10463
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/29/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Philip Malakoff                                                       Contingent
          23 Old Field Lane                                                     Unliquidated
          Great Neck, NY 11020
                                                                                Disputed
          Date(s) debt was incurred 2/16/17
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Phyllis C. Cohen Irrev. Trust                                         Contingent
          David S. Cohen Trustee                                                Unliquidated
          48 Chester Ct
                                                                                Disputed
          Cortlandt Manor, NY 10567
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/31/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $250,000.00
          Ram Gupta                                                             Contingent
          2123 Williamsbridge Road                                              Unliquidated
          Bronx, NY 10461
                                                                                Disputed
          Date(s) debt was incurred 7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $750,000.00
          Rejis Realty LLC                                                      Contingent
          c/o Mautner Glick Corp                                                Unliquidated
          1345 Third Ave
                                                                                Disputed
          New York, NY 10075
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/12/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,000,000.00
          Rella Fogliano                                                        Contingent
          438 Fifth Avenue                                                      Unliquidated
          Pelham, NY 10803
                                                                                Disputed
          Date(s) debt was incurred      7/14/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Richard Giliotti                                                      Contingent
          7 Magnolia Drive                                                      Unliquidated
          Purchase, NY 10577
                                                                                Disputed
          Date(s) debt was incurred      1/21/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          RNG WEA LLC                                                           Contingent
          Attn: Mitchell Newman                                                 Unliquidated
          3 Oxford Court
                                                                                Disputed
          Morganville, NJ 07751
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/5/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Robert Cicero                                                         Contingent
          1 Fox Ridge Drive                                                     Unliquidated
          New Milford, CT 06776
                                                                                Disputed
          Date(s) debt was incurred 3/22/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $300,000.00
          Robert Feldman                                                        Contingent
          1249 Veeder Drive                                                     Unliquidated
          Hewlett, NY 11557
                                                                                Disputed
          Date(s) debt was incurred      7/31/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Robert Hochman                                                        Contingent
          75 Maiden Lane                                                        Unliquidated
          Suite 802
                                                                                Disputed
          New York, NY 10038
                                                                             Basis for the claim:
          Date(s) debt was incurred      12/1/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Robert Rosen                                                          Contingent
          1 Revere Lane                                                         Unliquidated
          Purchase, NY 10577
                                                                                Disputed
          Date(s) debt was incurred      7/7/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $450,000.00
          Robert Rosenthal                                                      Contingent
          1 Jericho Plaza                                                       Unliquidated
          Suite 201
                                                                                Disputed
          Jericho, NY 11753
                                                                             Basis for the claim:
          Date(s) debt was incurred      10/1/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Rochelle Kesselman                                                    Contingent
          317 Chestnut Street                                                   Unliquidated
          West Hempstead, NY 11552
                                                                                Disputed
          Date(s) debt was incurred 8/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Roger Colonna                                                         Contingent
          24 Basswood Drive                                                     Unliquidated
          Denville, NJ 07834
                                                                                Disputed
          Date(s) debt was incurred      1/12/17
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Roger Schneier                                                        Contingent
          8167 Valhalla Drive                                                   Unliquidated
          Delray Beach, FL 33446
                                                                                Disputed
          Date(s) debt was incurred 8/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Ronald Garfunkel                                                      Contingent
          127 Church Hill Road                                                  Unliquidated
          Washington Depot, CT 06794
                                                                                Disputed
          Date(s) debt was incurred 9/15/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Ross Epstein                                                          Contingent
          925 Monroe Lane                                                       Unliquidated
          Hewlett Neck, NY 11598
                                                                                Disputed
          Date(s) debt was incurred 8/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Ross Goldenberg                                                       Contingent
          116 Storer Ave                                                        Unliquidated
          New Rochelle, NY 10801
                                                                                Disputed
          Date(s) debt was incurred 7/12/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Ross Weissman                                                         Contingent
          4 Cypress Point Drive                                                 Unliquidated
          Purchase, NY 10577
                                                                                Disputed
          Date(s) debt was incurred 8/11/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Saulyco LLC                                                           Contingent
          Attn: Issac Stern                                                     Unliquidated
          220 Surrey Road
                                                                                Disputed
          Hillside, NJ 07205
                                                                             Basis for the claim:
          Date(s) debt was incurred      7/31/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Scott DeCarolis                                                       Contingent
          26 Oak Drive                                                          Unliquidated
          Upper Saddle River, NJ 07458
                                                                                Disputed
          Date(s) debt was incurred 1/19/17
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Shoshana Abramoff                                                     Contingent
          4101 Pine Tree Drive                                                  Unliquidated
          Apt # 1726
                                                                                Disputed
          Miami Beach, FL 33140
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/11/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Six Six Holdings 62nd St LLC                                          Contingent
          Att: Jordon Keltz                                                     Unliquidated
          49 East 21st Street, Apt 9D
                                                                                Disputed
          New York, NY 10010
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/13/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Stephen Nardoni                                                       Contingent
          305 East 24th Street                                                  Unliquidated
          Apt LB
                                                                                Disputed
          New York, NY 10010
                                                                             Basis for the claim:
          Date(s) debt was incurred      8/6/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Stephen Wolinetz                                                      Contingent
          900 Willis Ave                                                        Unliquidated
          Albertson, NY 11507
                                                                                Disputed
          Date(s) debt was incurred      7/12/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Steven Napoli                                                         Contingent
          66 Tintern Lane                                                       Unliquidated
          Scarsdale, NY 10583
                                                                                Disputed
          Date(s) debt was incurred      8/6/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          The Hyman Cohen REV Trust                                             Contingent
          Attn: David Cohen                                                     Unliquidated
          1875 Julian Lane
                                                                                Disputed
          Merrick, NY 11566
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/6/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          The Joshua Epstein 2009 Trust                                         Contingent
          c/o Ross Epstein                                                      Unliquidated
          925 Monroe Lane
                                                                                Disputed
          Hewlett Neck, NY 11598
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/10/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          The Payroll Store Investments                                         Contingent
          Attn: Evan Steinbach                                                  Unliquidated
          575 Underhill Blvd, Suite 205
                                                                                Disputed
          Syosset, NY 11791
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/10/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Timothy Gold                                                          Contingent
          4 Rolling Hill Rd                                                     Unliquidated
          Old Westbury, NY 11568
                                                                                Disputed
          Date(s) debt was incurred 7/20/16
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          TLM Holdings LLC                                                      Contingent
          215 East 68th Street                                                  Unliquidated
          Apt #17-Y
                                                                                Disputed
          New York, NY 10065
                                                                             Basis for the claim:
          Date(s) debt was incurred      8/19/15
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          William Bonomo                                                        Contingent
          21 Sunset Blvd                                                        Unliquidated
          Massapequa, NY 11758
                                                                                Disputed
          Date(s) debt was incurred 8/8/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          William Jebaily                                                       Contingent
          81 Iron Mine Drive                                                    Unliquidated
          Staten Island, NY 10304
                                                                                Disputed
          Date(s) debt was incurred 4/30/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Yehuda Biber                                                          Contingent
          1016 Crestwood Rd                                                     Unliquidated
          Woodmere, NY 11598
                                                                                Disputed
          Date(s) debt was incurred 8/5/15
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.145     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $100,000.00
           Yoser & Elisheva Oratz                                               Contingent
           201 Davis Avenue                                                     Unliquidated
           White Plains, NY 10605
                                                                                Disputed
           Date(s) debt was incurred 8/31/15
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.146     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $50,000.00
           Zachary Stone                                                        Contingent
           1 Upland Woods Circle                                                Unliquidated
           #301
                                                                                Disputed
           Norwood, MA 02062
                                                                             Basis for the claim:
           Date(s) debt was incurred 11/18/16
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Howard Rosen
           4 Horizon Road # 1006                                                                      Line     3.105
           Fort Lee, NJ 07024
                                                                                                             Not listed. Explain

 4.2       Klein Wealth Mgmt Hightower
           445 Broad Hollow Rd                                                                        Line     3.8
           Suite 332
                                                                                                             Not listed. Explain
           Melville, NY 11747

 4.3       Klein Wealth Mgmt Hightower
           445 Broad Hollow Rd                                                                        Line     3.7
           Suite 332
                                                                                                             Not listed. Explain
           Melville, NY 11747

 4.4       Klein Wealth Mgmt Hightower
           445 Broad Hollow Rd                                                                        Line     3.59
           Suite 332
                                                                                                             Not listed. Explain
           Melville, NY 11747

 4.5       Law Of Judd R. Spray
           450 Seventh Ave, 33rd Fl                                                                   Line     3.55
           New York, NY 10123
                                                                                                             Not listed. Explain

 4.6       Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                                   Line     3.11
           Suite 1920
                                                                                                             Not listed. Explain
           New York, NY 10036

 4.7       Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                                   Line     3.40
           Suite 1920
                                                                                                             Not listed. Explain
           New York, NY 10036




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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.8       Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.60
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.9       Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.69
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.10      Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.72
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.11      Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.75
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.12      Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.85
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.13      Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.110
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.14      Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.115
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.15      Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.117
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036

 4.16      Rosenfeld & Kaplan LLP
           1180 Ave of the Americas                                                              Line     3.118
           Suite 1920
                                                                                                        Not listed. Explain
           New York, NY 10036


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                         0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                18,950,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                   18,950,000.00




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 Fill in this information to identify the case:

 Debtor name         163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Michael P.                        265 East 66th Street                              1516 Realty Group                  D
             D'Alessio                         Apt 28F                                           LLC                                E/F       3.1
                                               New York, NY 10065
                                                                                                                                    G




    2.2      Michael P.                        265 East 66th Street                              Adam Fields                        D
             D'Alessio                         Apt 28F                                                                              E/F       3.2
                                               New York, NY 10065
                                                                                                                                    G




    2.3      Michael P.                        265 East 66th Street                              Allan Miller                       D
             D'Alessio                         Apt 28F                                                                              E/F       3.3
                                               New York, NY 10065
                                                                                                                                    G




    2.4      Michael P.                        265 East 66th Street                              Andrew West                        D
             D'Alessio                         Apt 28F                                                                              E/F       3.4
                                               New York, NY 10065
                                                                                                                                    G




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    2.5      Michael P.                        265 East 66th Street                        Anita Gupta                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.5
                                               New York, NY 10065
                                                                                                                            G




    2.6      Michael P.                        265 East 66th Street                        Anthony Bastone                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.6
                                               New York, NY 10065
                                                                                                                            G




    2.7      Michael P.                        265 East 66th Street                        Anthony Bonomo Sr.               D
             D'Alessio                         Apt 28F                                                                      E/F       3.8
                                               New York, NY 10065
                                                                                                                            G




    2.8      Michael P.                        265 East 66th Street                        Anthony Bonomo Jr.               D
             D'Alessio                         Apt 28F                                                                      E/F       3.7
                                               New York, NY 10065
                                                                                                                            G




    2.9      Michael P.                        265 East 66th Street                        Antonio Zaino                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.9
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Arnold Waldman                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.10
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Attis Properties Inc             D
             D'Alessio                         Apt 28F                                                                      E/F       3.11
                                               New York, NY 10065
                                                                                                                            G




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    2.12     Michael P.                        265 East 66th Street                        Barbara Fiederlein               D
             D'Alessio                         Apt 28F                                     Trust,                           E/F       3.12
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        Barry Blitstein                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.13
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                        Barry Drucker                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.14
                                               New York, NY 10065
                                                                                                                            G




    2.15     Michael P.                        265 East 66th Street                        Barry Ipp                        D
             D'Alessio                         Apt 28F                                                                      E/F       3.15
                                               New York, NY 10065
                                                                                                                            G




    2.16     Michael P.                        265 East 66th Street                        Bruce Azus                       D
             D'Alessio                         Apt 28F                                                                      E/F       3.16
                                               New York, NY 10065
                                                                                                                            G




    2.17     Michael P.                        265 East 66th Street                        Canzone Contracting              D
             D'Alessio                         Apt 28F                                     Corp                             E/F       3.17
                                               New York, NY 10065
                                                                                                                            G




    2.18     Michael P.                        265 East 66th Street                        Carl Bonomo                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.18
                                               New York, NY 10065
                                                                                                                            G




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    2.19     Michael P.                        265 East 66th Street                        Carmine Lippolis                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.19
                                               New York, NY 10065
                                                                                                                            G




    2.20     Michael P.                        265 East 66th Street                        Carol Merkel                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.20
                                               New York, NY 10065
                                                                                                                            G




    2.21     Michael P.                        265 East 66th Street                        Chantal Pick                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.21
                                               New York, NY 10065
                                                                                                                            G




    2.22     Michael P.                        265 East 66th Street                        Charles Barovian                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.22
                                               New York, NY 10065
                                                                                                                            G




    2.23     Michael P.                        265 East 66th Street                        Clifford & Gail                  D
             D'Alessio                         Apt 28F                                     Bassett                          E/F       3.23
                                               New York, NY 10065
                                                                                                                            G




    2.24     Michael P.                        265 East 66th Street                        Cohen Children                   D
             D'Alessio                         Apt 28F                                     Trust, David                     E/F       3.24
                                               New York, NY 10065
                                                                                                                            G




    2.25     Michael P.                        265 East 66th Street                        Conrad Strohl                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.25
                                               New York, NY 10065
                                                                                                                            G




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    2.26     Michael P.                        265 East 66th Street                        Cy Blanco                        D
             D'Alessio                         Apt 28F                                                                      E/F       3.26
                                               New York, NY 10065
                                                                                                                            G




    2.27     Michael P.                        265 East 66th Street                        Cynthia Petretti                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.27
                                               New York, NY 10065
                                                                                                                            G




    2.28     Michael P.                        265 East 66th Street                        Daniel Rifkin                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.28
                                               New York, NY 10065
                                                                                                                            G




    2.29     Michael P.                        265 East 66th Street                        Darren Kay                       D
             D'Alessio                         Apt 28F                                                                      E/F       3.29
                                               New York, NY 10065
                                                                                                                            G




    2.30     Michael P.                        265 East 66th Street                        David & Susan                    D
             D'Alessio                         Apt 28F                                     Diamond                          E/F       3.30
                                               New York, NY 10065
                                                                                                                            G




    2.31     Michael P.                        265 East 66th Street                        David Bauer                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.31
                                               New York, NY 10065
                                                                                                                            G




    2.32     Michael P.                        265 East 66th Street                        David Katz                       D
             D'Alessio                         Apt 28F                                                                      E/F       3.32
                                               New York, NY 10065
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.33     Michael P.                        265 East 66th Street                        David Levy                       D
             D'Alessio                         Apt 28F                                                                      E/F       3.33
                                               New York, NY 10065
                                                                                                                            G




    2.34     Michael P.                        265 East 66th Street                        David S. Cohen                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.34
                                               New York, NY 10065
                                                                                                                            G




    2.35     Michael P.                        265 East 66th Street                        David Tesser                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.35
                                               New York, NY 10065
                                                                                                                            G




    2.36     Michael P.                        265 East 66th Street                        Dennis Korchinski                D
             D'Alessio                         Apt 28F                                                                      E/F       3.36
                                               New York, NY 10065
                                                                                                                            G




    2.37     Michael P.                        265 East 66th Street                        Diamond Enterprises              D
             D'Alessio                         Apt 28F                                     LLC                              E/F       3.37
                                               New York, NY 10065
                                                                                                                            G




    2.38     Michael P.                        265 East 66th Street                        Dodd Farber                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.38
                                               New York, NY 10065
                                                                                                                            G




    2.39     Michael P.                        265 East 66th Street                        Donald Konrad                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.39
                                               New York, NY 10065
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.40     Michael P.                        265 East 66th Street                        Douglas Scibelli                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.40
                                               New York, NY 10065
                                                                                                                            G




    2.41     Michael P.                        265 East 66th Street                        Dov Kesselman                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.41
                                               New York, NY 10065
                                                                                                                            G




    2.42     Michael P.                        265 East 66th Street                        Ed Tesser                        D
             D'Alessio                         Apt 28F                                                                      E/F       3.42
                                               New York, NY 10065
                                                                                                                            G




    2.43     Michael P.                        265 East 66th Street                        Elizabeth Armstrong              D
             D'Alessio                         Apt 28F                                                                      E/F       3.43
                                               New York, NY 10065
                                                                                                                            G




    2.44     Michael P.                        265 East 66th Street                        Erin Diamond                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.44
                                               New York, NY 10065
                                                                                                                            G




    2.45     Michael P.                        265 East 66th Street                        Fallon Rose LLC                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.45
                                               New York, NY 10065
                                                                                                                            G




    2.46     Michael P.                        265 East 66th Street                        Fiederlein Family                D
             D'Alessio                         Apt 28F                                     2012 Gift Tr                     E/F       3.46
                                               New York, NY 10065
                                                                                                                            G




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    2.47     Michael P.                        265 East 66th Street                        Friedricks Associates            D
             D'Alessio                         Apt 28F                                     LTD                              E/F       3.47
                                               New York, NY 10065
                                                                                                                            G




    2.48     Michael P.                        265 East 66th Street                        Gerald Levy                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.48
                                               New York, NY 10065
                                                                                                                            G




    2.49     Michael P.                        265 East 66th Street                        Glenn Messinger                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.49
                                               New York, NY 10065
                                                                                                                            G




    2.50     Michael P.                        265 East 66th Street                        Golden Touch                     D
             D'Alessio                         Apt 28F                                     Investments LLC                  E/F       3.50
                                               New York, NY 10065
                                                                                                                            G




    2.51     Michael P.                        265 East 66th Street                        Grant & Fox LLC                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.51
                                               New York, NY 10065
                                                                                                                            G




    2.52     Michael P.                        265 East 66th Street                        Gregory Calabro                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.52
                                               New York, NY 10065
                                                                                                                            G




    2.53     Michael P.                        265 East 66th Street                        Harrilyn Dolman                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.53
                                               New York, NY 10065
                                                                                                                            G




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    2.54     Michael P.                        265 East 66th Street                        Harvey Stevens                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.54
                                               New York, NY 10065
                                                                                                                            G




    2.55     Michael P.                        265 East 66th Street                        Herminio Torres                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.55
                                               New York, NY 10065
                                                                                                                            G




    2.56     Michael P.                        265 East 66th Street                        Hewlett Trading Co               D
             D'Alessio                         Apt 28F                                     LLC                              E/F       3.56
                                               New York, NY 10065
                                                                                                                            G




    2.57     Michael P.                        265 East 66th Street                        Integrated Electronic            D
             D'Alessio                         Apt 28F                                                                      E/F       3.57
                                               New York, NY 10065
                                                                                                                            G




    2.58     Michael P.                        265 East 66th Street                        Jack Perlman                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.58
                                               New York, NY 10065
                                                                                                                            G




    2.59     Michael P.                        265 East 66th Street                        Jaclyn Bonomo                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.59
                                               New York, NY 10065
                                                                                                                            G




    2.60     Michael P.                        265 East 66th Street                        Jacqueline Martinez              D
             D'Alessio                         Apt 28F                                                                      E/F       3.60
                                               New York, NY 10065
                                                                                                                            G




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    2.61     Michael P.                        265 East 66th Street                        Jason Griffith                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.61
                                               New York, NY 10065
                                                                                                                            G




    2.62     Michael P.                        265 East 66th Street                        Jeffrey Mortman                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.62
                                               New York, NY 10065
                                                                                                                            G




    2.63     Michael P.                        265 East 66th Street                        Jeffrey Pinsky                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.63
                                               New York, NY 10065
                                                                                                                            G




    2.64     Michael P.                        265 East 66th Street                        Jerry Pinsky                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.64
                                               New York, NY 10065
                                                                                                                            G




    2.65     Michael P.                        265 East 66th Street                        John Bonito                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.65
                                               New York, NY 10065
                                                                                                                            G




    2.66     Michael P.                        265 East 66th Street                        John Cannon                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.66
                                               New York, NY 10065
                                                                                                                            G




    2.67     Michael P.                        265 East 66th Street                        John Ernenwein                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.67
                                               New York, NY 10065
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    2.68     Michael P.                        265 East 66th Street                        Jon Hansburg                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.68
                                               New York, NY 10065
                                                                                                                            G




    2.69     Michael P.                        265 East 66th Street                        Joseph Breda                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.69
                                               New York, NY 10065
                                                                                                                            G




    2.70     Michael P.                        265 East 66th Street                        Joseph Dinoia                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.70
                                               New York, NY 10065
                                                                                                                            G




    2.71     Michael P.                        265 East 66th Street                        Josh Manson                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.71
                                               New York, NY 10065
                                                                                                                            G




    2.72     Michael P.                        265 East 66th Street                        Joshua & Angie                   D
             D'Alessio                         Apt 28F                                     Brown                            E/F       3.72
                                               New York, NY 10065
                                                                                                                            G




    2.73     Michael P.                        265 East 66th Street                        Judah Hammer                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.73
                                               New York, NY 10065
                                                                                                                            G




    2.74     Michael P.                        265 East 66th Street                        Julianne Bonomo                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.74
                                               New York, NY 10065
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    2.75     Michael P.                        265 East 66th Street                        Keith Hummel                     D
             D'Alessio                         Apt 28F                                                                      E/F       3.75
                                               New York, NY 10065
                                                                                                                            G




    2.76     Michael P.                        265 East 66th Street                        Kurt Voellmicke                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.76
                                               New York, NY 10065
                                                                                                                            G




    2.77     Michael P.                        265 East 66th Street                        Lawrence & Fara                  D
             D'Alessio                         Apt 28F                                     Tesser                           E/F       3.77
                                               New York, NY 10065
                                                                                                                            G




    2.78     Michael P.                        265 East 66th Street                        Lawrence Dolin                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.78
                                               New York, NY 10065
                                                                                                                            G




    2.79     Michael P.                        265 East 66th Street                        Lillian Fazio                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.79
                                               New York, NY 10065
                                                                                                                            G




    2.80     Michael P.                        265 East 66th Street                        Lisa West                        D
             D'Alessio                         Apt 28F                                                                      E/F       3.80
                                               New York, NY 10065
                                                                                                                            G




    2.81     Michael P.                        265 East 66th Street                        Luis Flores                      D
             D'Alessio                         Apt 28F                                                                      E/F       3.81
                                               New York, NY 10065
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    2.82     Michael P.                        265 East 66th Street                        Luise Barrack                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.82
                                               New York, NY 10065
                                                                                                                            G




    2.83     Michael P.                        265 East 66th Street                        MAF Realty Ventures              D
             D'Alessio                         Apt 28F                                     LLC                              E/F       3.83
                                               New York, NY 10065
                                                                                                                            G




    2.84     Michael P.                        265 East 66th Street                        Maria Pedersen                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.84
                                               New York, NY 10065
                                                                                                                            G




    2.85     Michael P.                        265 East 66th Street                        Marilyn Shendell                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.85
                                               New York, NY 10065
                                                                                                                            G




    2.86     Michael P.                        265 East 66th Street                        Mark Engel                       D
             D'Alessio                         Apt 28F                                                                      E/F       3.86
                                               New York, NY 10065
                                                                                                                            G




    2.87     Michael P.                        265 East 66th Street                        Mary Middelton                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.87
                                               New York, NY 10065
                                                                                                                            G




    2.88     Michael P.                        265 East 66th Street                        Matthew Engel                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.88
                                               New York, NY 10065
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    2.89     Michael P.                        265 East 66th Street                        Michael & Virginia               D
             D'Alessio                         Apt 28F                                     Salvemini                        E/F       3.89
                                               New York, NY 10065
                                                                                                                            G




    2.90     Michael P.                        265 East 66th Street                        Michael Burden                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.90
                                               New York, NY 10065
                                                                                                                            G




    2.91     Michael P.                        265 East 66th Street                        Michael Eigner                   D
             D'Alessio                         Apt 28F                                                                      E/F       3.91
                                               New York, NY 10065
                                                                                                                            G




    2.92     Michael P.                        265 East 66th Street                        Michael Kesselman                D
             D'Alessio                         Apt 28F                                                                      E/F       3.92
                                               New York, NY 10065
                                                                                                                            G




    2.93     Michael P.                        265 East 66th Street                        Michael Shenker                  D
             D'Alessio                         Apt 28F                                                                      E/F       3.93
                                               New York, NY 10065
                                                                                                                            G




    2.94     Michael P.                        265 East 66th Street                        Michele DeFranco                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.94
                                               New York, NY 10065
                                                                                                                            G




    2.95     Michael P.                        265 East 66th Street                        Monica Spier                     D
             D'Alessio                         Apt 28F                                     Rev.Trust U/A                    E/F       3.95
                                               New York, NY 10065
                                                                                                                            G




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 Debtor       163-165 East 62nd Street Holding LLC                                    Case number (if known)


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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.96     Michael P.                        265 East 66th Street                        Nadia Nedelcheva                 D
             D'Alessio                         Apt 28F                                                                      E/F       3.96
                                               New York, NY 10065
                                                                                                                            G




    2.97     Michael P.                        265 East 66th Street                        Nathan & Pearl                   D
             D'Alessio                         Apt 28F                                     Halegua                          E/F       3.97
                                               New York, NY 10065
                                                                                                                            G




    2.98     Michael P.                        265 East 66th Street                        Neil Levy                        D
             D'Alessio                         Apt 28F                                                                      E/F       3.98
                                               New York, NY 10065
                                                                                                                            G




    2.99     Michael P.                        265 East 66th Street                        Neil Ptashnik                    D
             D'Alessio                         Apt 28F                                                                      E/F       3.99
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Nellie Giblaint                  D
    0        D'Alessio                         Apt 28F                                                                      E/F       3.100
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Nicholas Guerriero               D
    1        D'Alessio                         Apt 28F                                                                      E/F       3.101
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        P & R Family LLC                 D
    2        D'Alessio                         Apt 28F                                                                      E/F       3.102
                                               New York, NY 10065
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.10     Michael P.                        265 East 66th Street                        Paul Bunt                        D
    3        D'Alessio                         Apt 28F                                                                      E/F       3.103
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        PCJ Investments LLC              D
    4        D'Alessio                         Apt 28F                                                                      E/F       3.104
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Pensco Trust                     D
    5        D'Alessio                         Apt 28F                                     Company                          E/F       3.105
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Pensco Trust                     D
    6        D'Alessio                         Apt 28F                                     Company                          E/F       3.106
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Peter Dreyfuss                   D
    7        D'Alessio                         Apt 28F                                                                      E/F       3.107
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Peter Rosenthal                  D
    8        D'Alessio                         Apt 28F                                                                      E/F       3.108
                                               New York, NY 10065
                                                                                                                            G




    2.10     Michael P.                        265 East 66th Street                        Philip Fiederlein                D
    9        D'Alessio                         Apt 28F                                                                      E/F       3.109
                                               New York, NY 10065
                                                                                                                            G




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    2.11     Michael P.                        265 East 66th Street                        Philip Goldstein                 D
    0        D'Alessio                         Apt 28F                                     Living Trust                     E/F       3.110
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Philip Malakoff                  D
    1        D'Alessio                         Apt 28F                                                                      E/F       3.111
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Phyllis C. Cohen                 D
    2        D'Alessio                         Apt 28F                                     Irrev. Trust                     E/F       3.112
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Ram Gupta                        D
    3        D'Alessio                         Apt 28F                                                                      E/F       3.113
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Rejis Realty LLC                 D
    4        D'Alessio                         Apt 28F                                                                      E/F       3.114
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Rella Fogliano                   D
    5        D'Alessio                         Apt 28F                                                                      E/F       3.115
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Richard Giliotti                 D
    6        D'Alessio                         Apt 28F                                                                      E/F       3.116
                                               New York, NY 10065
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.11     Michael P.                        265 East 66th Street                        RNG WEA LLC                      D
    7        D'Alessio                         Apt 28F                                                                      E/F       3.117
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Robert Cicero                    D
    8        D'Alessio                         Apt 28F                                                                      E/F       3.118
                                               New York, NY 10065
                                                                                                                            G




    2.11     Michael P.                        265 East 66th Street                        Robert Feldman                   D
    9        D'Alessio                         Apt 28F                                                                      E/F       3.119
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Robert Hochman                   D
    0        D'Alessio                         Apt 28F                                                                      E/F       3.120
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Robert Rosen                     D
    1        D'Alessio                         Apt 28F                                                                      E/F       3.121
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Robert Rosenthal                 D
    2        D'Alessio                         Apt 28F                                                                      E/F       3.122
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Rochelle Kesselman               D
    3        D'Alessio                         Apt 28F                                                                      E/F       3.123
                                               New York, NY 10065
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.12     Michael P.                        265 East 66th Street                        Roger Colonna                    D
    4        D'Alessio                         Apt 28F                                                                      E/F       3.124
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Roger Schneier                   D
    5        D'Alessio                         Apt 28F                                                                      E/F       3.125
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Ronald Garfunkel                 D
    6        D'Alessio                         Apt 28F                                                                      E/F       3.126
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Ross Epstein                     D
    7        D'Alessio                         Apt 28F                                                                      E/F       3.127
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Ross Goldenberg                  D
    8        D'Alessio                         Apt 28F                                                                      E/F       3.128
                                               New York, NY 10065
                                                                                                                            G




    2.12     Michael P.                        265 East 66th Street                        Ross Weissman                    D
    9        D'Alessio                         Apt 28F                                                                      E/F       3.129
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        Saulyco LLC                      D
    0        D'Alessio                         Apt 28F                                                                      E/F       3.130
                                               New York, NY 10065
                                                                                                                            G




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    2.13     Michael P.                        265 East 66th Street                        Scott DeCarolis                  D
    1        D'Alessio                         Apt 28F                                                                      E/F       3.131
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        Shoshana Abramoff                D
    2        D'Alessio                         Apt 28F                                                                      E/F       3.132
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        Six Six Holdings                 D
    3        D'Alessio                         Apt 28F                                     62nd St LLC                      E/F       3.133
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        Stephen Nardoni                  D
    4        D'Alessio                         Apt 28F                                                                      E/F       3.134
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        Stephen Wolinetz                 D
    5        D'Alessio                         Apt 28F                                                                      E/F       3.135
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        Steven Napoli                    D
    6        D'Alessio                         Apt 28F                                                                      E/F       3.136
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        The Hyman Cohen                  D
    7        D'Alessio                         Apt 28F                                     REV Trust                        E/F       3.137
                                               New York, NY 10065
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.13     Michael P.                        265 East 66th Street                        The Joshua Epstein               D
    8        D'Alessio                         Apt 28F                                     2009 Trust                       E/F       3.138
                                               New York, NY 10065
                                                                                                                            G




    2.13     Michael P.                        265 East 66th Street                        The Payroll Store                D
    9        D'Alessio                         Apt 28F                                     Investments                      E/F       3.139
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                        Timothy Gold                     D
    0        D'Alessio                         Apt 28F                                                                      E/F       3.140
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                        TLM Holdings LLC                 D
    1        D'Alessio                         Apt 28F                                                                      E/F       3.141
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                        William Bonomo                   D
    2        D'Alessio                         Apt 28F                                                                      E/F       3.142
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                        William Jebaily                  D
    3        D'Alessio                         Apt 28F                                                                      E/F       3.143
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                        Yehuda Biber                     D
    4        D'Alessio                         Apt 28F                                                                      E/F       3.144
                                               New York, NY 10065
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Michael P.                        265 East 66th Street                        Yoser & Elisheva                 D
    5        D'Alessio                         Apt 28F                                     Oratz                            E/F       3.145
                                               New York, NY 10065
                                                                                                                            G




    2.14     Michael P.                        265 East 66th Street                        Zachary Stone                    D
    6        D'Alessio                         Apt 28F                                                                      E/F       3.146
                                               New York, NY 10065
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         163-165 East 62nd Street Holding LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2018 to Filing Date
                                                                                                   Other



       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                                          $0.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
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    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Rella Fogliano, Joseph Breda,                                                Supreme Court NY, County                      Pending
               Marilyn Shendell, Attis                                                      Westchester                                   On appeal
               Properties Inc, RNG WEA
                                                                                                                                          Concluded
               LLC, Jacqueline Martinez,
               Douglas Scibelli, Joshua
               Brown, Angie Brown, Philip
               Goldstein, Ellen Goldstein,
               Robert Cicero Keith Hummel
               & Philip Healy
               vs
               163-165 East 62nd Street
               Holding LLC, Bluestone
               163-165 LLC, Michael Paul
               D'Alessio, Michael Paul
               Enterprises LLC and 163-165
               East 62nd Associates LLC
               53540/2018




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               Case title                                        Nature of case               Court or agency's name and              Status of case
               Case number                                                                    address
       7.2.    Herminio Torres and Barbara                                                    Supreme Court NY, County                    Pending
               Vega                                                                           NY                                          On appeal
               vs
                                                                                                                                          Concluded
               Michael P. D'Alessio, Michael
               Paul Enterprises LLC, 163-165
               East 62nd Street Holding LLC,
               163-165 East 62nd Street
               Associates LLC, Bluestone
               163-165 LLC, 43 Middle Pond
               Road LLC, 43 Middle Pond
               Road Holding LLC
               651423/2018

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Rosen & Associates P.C.
                 747 Third Ave
                 New York, NY 10017                                                                                            5/14/18                  $5,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Michael Paul Enterprises LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.
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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Greater Hudson Bank                              XXXX-3888                   Checking                 4/30/18                              $0.00
                567 N. Broadway                                                              Savings
                White Plains, NY 10603
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.
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      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Anthony Capeci CPA                                                                                                         Current
                    1160 East Jericho Tpke
                    Suite 217
                    Huntington, NY 11743

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None



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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael P. D'Alessio                           265 East 66th Street                                Manager                               0
                                                      Apt 28F
                                                      New York, NY 10065


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 1516 Realty Group LLC
       .    97-77 Queens Blvd, TWR 3                                                                                     6/1/17 -           Guranteed
               Rego Park, NY 11374                               10,060.28                                               10/1/17            Payments

               Relationship to debtor
               Member


       30.2 Adam Fields
       .    9769 Apricot Lane                                                                                            6/1/17 -           Guranteed
               Beverly Hills, CA 90210                           6,706.84                                                10/1/17            Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.3 Allan Miller
       .    12 North Lane Drive                                                                                          6/1/17 -          Guranteed
               Armonk, NY 10504                                  6,706.84                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4                                                                                                                                Guranteed
       .    Alvin Williams                                                                                                                 Payments and
               8731 Page Circle                                                                                                            Return of
               Huntington Beach, CA 92646                        105,391.77                                              6/1/17 - 9/7/17   Investments

               Relationship to debtor
               Member


       30.5 Andrew West
       .    33 Gateway Drive                                                                                             6/1/17 -          Guranteed
               Great Neck, NY 11021                              13,413.71                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.6 Anita Gupta
       .    2123 Williamsbridge Road                                                                                     6/1/17 -          Guranteed
               Bronx, NY 10461                                   10,060.28                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.7 Anthony Bonomo Sr.
       .    10 Walter Lane                                                                                               6/1/17 -          Guranteed
               Manhasset, NY 11030                               30,180.83                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.8 Anthony Bonomo Jr.
       .    10 Walter Lane                                                                                               6/1/17 -          Guranteed
               Manhasset, NY 11030                               6,706.84                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.9 Antonio Zaino
       .    7 South Ridge Road                                                                                           6/1/17 -          Guranteed
               Brookfield, CT 06804                              6,706.84                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.1 Arnold Waldman
       0.   581 Leheigh Lane                                                                                             6/1/17 -          Guranteed
               Woodmere, NY 11598                                3,353.41                                                10/1/17           Payments

               Relationship to debtor
               Member


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               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.1 Barbara Fiederlein Trust,
       1.   David Fiederlein, Trustee
               56 Majestic Ridge                                                                                         6/1/17 -       Guranteed
               Carmel, NY 10512                                  3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Barry Blitstein
       2.   55 Ocean Avenue, #6B                                                                                         6/1/17 -       Guranteed
               Monmouth Beach, NJ 07750                          6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Barry Drucker
       3.   20 Long Ledge Drive                                                                                          6/1/17 -       Guranteed
               Rye Brook, NY 10573                               6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Barry Ipp
       4.   27 West Rock Trail                                                                                           6/1/17 -       Guranteed
               Stamford, CT 06902                                3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Bluestone 163-165 LLC
       5.   12 Water Street
               Suite 204                                                                                                 6/1/17 -       Guranteed
               White Plains, NY 10601                            342,363.50                                              10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Bruce Azus
       6.   9 Bensin Drive                                                                                               6/1/17 -       Guranteed
               Melville, NY 11747                                6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Canzone Contracting Corp
       7.   218 W. Lincoln Ave                                                                                           6/1/17 -       Guranteed
               Mount Vernon, NY 10550                            6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.1 Carl Bonomo
       8.   49 Harvard Drive                                                                                             6/1/17 -       Guranteed
               Plainview, NY 11803                               6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.1 Carmine Lippolis
       9.   25 Seventh Street                                                                                            6/1/17 -       Guranteed
               Pelham, NY 10803                                  6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Carol Merkel
       0.   323 Polaris Street                                                                                           6/1/17 -       Guranteed
               Dauphin Island, AL 36528                          3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Chantal Pick
       1.   866 Evergreen Drive                                                                                          6/1/17 -       Guranteed
               West Hempstead, NY 11552                          6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Charles Barovian
       2.   1763 West 9th Street                                                                                         6/1/17 -       Guranteed
               Brooklyn, NY 11223                                3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Clifford & Gail Bassett
       3.   535 East 86th Street
               Apt #6J                                                                                                   6/1/17 -       Guranteed
               New York, NY 10028                                3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Cohen Children Trust, David
       4.   Cohen Trustee
               1875 Julian Lane                                                                                          6/1/17 -       Guranteed
               Merrick, NY 11566                                 3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.2 Conrad Strohl
       5.   2 Larch Lane                                                                                                 6/1/17 -       Guranteed
               Marlboro, NJ 07746                                3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Cy Blanco
       6.   104 Mildred Parkway                                                                                          6/1/17 -       Guranteed
               New Rochelle, NY 10804                            6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Cynthia Petretti
       7.   4 North Lane                                                                                                 6/1/17 -       Guranteed
               Mahopac, NY 10541                                 3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Daniel Rifkin
       8.   P.O. Box 9338                                                                                                6/1/17 -       Guranteed
               Bardonia, NY 10954                                6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.2 Darren Kay
       9.   19 Fells Drive                                                                                               6/1/17 -       Guranteed
               Manalapan, NJ 07726                               3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 David & Rita Levy
       0.   25 Wren Drive                                                                                                6/1/17 -       Guranteed
               Roslyn, NY 11576                                  6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 David & Susan Diamond
       1.   3677 East Tremont Ave                                                                                        6/1/17 -       Guranteed
               Bronx, NY 10465                                   13,413.71                                               10/1/17        Payments

               Relationship to debtor
               Member


       30.3 David Bauer
       2.   31 Deepwood Road                                                                                             6/1/17 -       Guranteed
               Wilton, CT 06897                                  3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member



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               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.3 David Katz
       3.   19 Cob Drive                                                                                                 6/1/17 -       Guranteed
               Westport, CT 06880                                3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 David Tesser
       4.   1800 Merrick Road                                                                                            6/1/17 -       Guranteed
               Merrick, NY 11566                                 6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Dennis Korchinski
       5.   38 Red Oak Road                                                                                              6/1/17 -       Guranteed
               Fairfield, CT 06824                               10,060.28                                               10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Diamond Enterprises LLC
       6.   3677 East Tremont Ave                                                                                        6/1/17 -       Guranteed
               Bronx, NY 10465                                   57,008.20                                               10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Dodd Farber
       7.   27 Wampus Lake Drive                                                                                         6/1/17 -       Guranteed
               Armonk, NY 10504                                  6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Donald Konrad
       8.   68 Pearl Farm Road                                                                                           6/1/17 -       Guranteed
               Stamford, CT 06902                                3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.3 Douglas Scibelli
       9.   124 Ludlow Street
               Apt 4C                                                                                                    6/1/17 -       Guranteed
               New York, NY 10002                                6,706.84                                                10/1/17        Payments

               Relationship to debtor
               Member


       30.4 Dov Kesselman
       0.   317 Chestnut Street                                                                                          6/1/17 -       Guranteed
               West Hempstead, NY 11552                          3,353.41                                                10/1/17        Payments

               Relationship to debtor
               Member


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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.4 Ed Tesser
       1.   2536 Army Place                                                                                              6/1/17 -          Guranteed
               Bellmore, NY 11710                                3.353.41                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Elizabeth Armstrong
       2.   10041 Sasser Lane                                                                                            6/1/17 -          Guranteed
               Mobile, AL 36695                                  6,706.84                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Erin Diamond
       3.   3677 East Tremont Ave                                                                                        6/1/17 -          Guranteed
               Bronx, NY 10465                                   3,353.41                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Fallon Rose LLC
       4.   Attn: Owen Grant
               82 Wellington Road                                                                                        6/1/17 -          Guranteed
               Garden City, NY 11530                             24,473.96                                               10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Fiederlein Family 2012 Gift Tr
       5.   ust, B. Fiederlein Trustee
               56 Majestic Ridge                                                                                         6/1/17 -          Guranteed
               Carmel, NY 10512                                  3,353.41                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4 Friedricks Associates LTD
       6.   Attn: Darryl Friedrick
               235 W 76th Street, #5E                                                                                    6/1/17 -          Guranteed
               New York, NY 10023                                6,706.84                                                10/1/17           Payments

               Relationship to debtor
               Member


       30.4                                                                                                                                Guranteed
       7.   Gerald Dolman                                                                                                                  Payments and
               215 Montecito Crescent                                                                                                      Return of
               Melville, NY 11747                                108,065.76                                              6/1/17 - 8/1/17   Investment

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.4 Gerald Levy
       8.   c/o Neil Levy
               36 Woodmont Rd                                                                                            6/1/17 -         Guaranteed
               Melville, NY 11747                                6,706.84                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.4 Glenn Messinger
       9.   5 Clipper Way                                                                                                6/1/17 -         Guaranteed
               Marblehead, MA 01945                              3,353.41                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Golden Touch Investments
       0.   LLC
               343 Sperry Road                                                                                           6/1/17 -         Guaranteed
               Bethany, CT 06524                                 6,706.84                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Grant & Fox LLC
       1.   139 Fulton Street
               Room 907                                                                                                  6/1/17 -         Guaranteed
               New York, NY 10038                                40,241.08                                               10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Gregory Calabro
       2.   22 Essex Road                                                                                                6/1/17 -         Guaranteed
               Maplewood, NJ 07040                               3,353.41                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Harrilyn Dolman
       3.   215 Montecito Crescent                                                                                                        Guaranteed
               Melville, NY 11747                                5,347.95                                                9/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.5 Harvey Stevens
       4.   8 East 83rd Street
               Apt 10F                                                                                                   6/1/17 -         Guaranteed
               New York, NY 10028                                6,706.84                                                10/1/17          Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.5 Herminio Torres
       5.   6916 58th Road                                                                                               6/1/17 -         Guaranteed
               Maspeth, NY 11378                                 6,706.84                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Hewlett Trading Co LLC
       6.   Attn: Richard Berman
               3421 Hewlett Avenue                                                                                       6/1/17 -         Guaranteed
               Merrick, NY 11566                                 6,706.84                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.5 Integrated Electronic
       7.   Solutions Inc
               1053 Saw Mill River Rd                                                                                                     Guaranteed
               Yonkers, NY 10710                                 3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.5 Jack Perlman
       8.   35 West 94th Street                                                                                                           Guaranteed
               New York, NY 10025                                7,758.89                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.5 Jaclyn Bonomo
       9.   10 Walter Lane                                                                                               6/1/17 -         Guaranteed
               Manhasset, NY 11030                               6,706.84                                                10/1/17          Payments

               Relationship to debtor
               Member


       30.6 Jacqueline Martinez
       0.   9 Thomas Drive                                                                                                                Guaranteed
               Hauppauge, NY 11788                               6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 Jason Griffith
       1.   66 Hillside Crescent                                                                                                          Guaranteed
               New Rochelle, NY 10804                            3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.6 Jeffrey Mortman
       2.   2 Stratton Drive                                                                                                              Guaranteed
               Wayne, NJ 07470                                   3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 Jeffrey Pinsky
       3.   22 Highfield Avenue                                                                                                           Guaranteed
               Port Washington, NY 11050                         6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 Jerry Pinsky
       4.   163 Pondview Drive                                                                                                            Guaranteed
               Port Washington, NY 11050                         13,413.71                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 John Bonito
       5.   9 Halock Drive                                                                                                                Guaranteed
               Greenwich, CT 06831                               3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 John Cannon
       6.   15 Farmington Lane                                                                                                            Guaranteed
               Melville, NY 11747                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 John Ernenwein
       7.   51 Osborne Road                                                                                                               Guaranteed
               Garden City, NY 11530                             3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 Jon Hansburg
       8.   19 Smith Farm Road                                                                                                            Guaranteed
               Bedford, NY 10506                                 3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.6 Joseph Breda
       9.   438 Fifth Ave                                                                                                                 Guaranteed
               Pelham, NY 10803                                  20,120.55                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member



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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.7 Joseph Dinoia
       0.   15833 Double Eagle Trail                                                                                                      Guaranteed
               Delray Beach, FL 33446                            6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Josh Manson
       1.   54 The Oaks                                                                                                                   Guaranteed
               Roslyn, NY 11576                                  10,060.25                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Joshua & Angie Brown
       2.   15 Tally Ho Lane                                                                                                              Guaranteed
               Stamford, CT 06905                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Judah Hammer
       3.   301 Eastwood Road                                                                                                             Guaranteed
               Woodmere, NY 11598                                6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Julianne Bonomo
       4.   10 Walter Lane                                                                                                                Guaranteed
               Manhasset, NY 11030                               6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Keith Hummel
       5.   10 Carriage Hill Road                                                                                                         Guaranteed
               West Harrison, NY 10604                           10,060.28                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Kurt Voellmicke
       6.   20 Belvedere Court                                                                                                            Guaranteed
               Ridgefield, CT 06877                              3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Lawrence & Fara Tesser
       7.   1968 Melthew Ct                                                                                                               Guaranteed
               Merrick, NY 11566                                 6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member



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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.7 Lawrence Dolin
       8.   11 Sands Court                                                                                                                Guaranteed
               Port Washington, NY 11050                         6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.7 Lillian Fazio
       9.   8716 Crystal Rock Lane                                                                                                        Guaranteed
               Laurel, MD 20708                                  3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Lisa West
       0.   33 Gateway Drive                                                                                                              Guaranteed
               Great Neck, NY 11021                              6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Luis Flores
       1.   11594 N. Quandry Dr                                                                                                           Guaranteed
               Tucson, AZ 85737                                  13,413.71                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Luise Barrack
       2.   47 Beechwood Road                                                                                                             Guaranteed
               Irvington, NY 10533                               3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 MAF Realty Ventures LLC
       3.   Attn: Michael Finamore
               8 Engineers Road                                                                                                           Guaranteed
               Roslyn, NY 11576                                  33,534.33                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Maria Pedersen
       4.   12 Byram Meadows                                                                                                              Guaranteed
               Chappaqua, NY 10514                               6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Marilyn Shendell
       5.   7 Sunrise Drive                                                                                                               Guaranteed
               Armonk, NY 10504                                  6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.8 Mark Engel
       6.   1 Forest Drive                                                                                                                Guaranteed
               Port Washington, NY 11050                         3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Mary Middelton
       7.   3930 Grand Ave #308                                                                                                           Guaranteed
               Des Moines, IA 50312                              3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Matthew Engel
       8.   19 Soundview                                                                                                                  Guaranteed
               Port Washington, NY 11050                         3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.8 Michael & Virginia Salvemini
       9.   51 Stoney Drive
               Palm Beach Gardens, FL                                                                                                     Guaranteed
               33410                                             3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Michael Burden
       0.   45 Stonewall Circle                                                                                                           Guaranteed
               West Harrison, NY 10604                           10,060.28                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Michael Eigner
       1.   3674 Toulouse Drive
               Palm Beach Gardens, FL                                                                                                     Guaranteed
               33410                                             3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Michael Kesselman
       2.   317 Chestnut Street                                                                                                           Guaranteed
               West Hempstead, NY 11552                          6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.9 Michael Shenker
       3.   113 Harrison Road                                                                                                             Guaranteed
               Wayne, NJ 07470                                   3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Michele DeFranco
       4.   27 Valley Terrace                                                                                                             Guaranteed
               Rye Brook, NY 10573                               3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Monica Spier Rev.Trust U/A
       5.   7/29/14, Monica Spier Trustee
               120 Bennett Ave. Apt 4L                                                                                                    Guaranteed
               New York, NY 10033                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Nadia Nedelcheva
       6.   835 Woodbine Ave                                                                                                              Guaranteed
               Mamaroneck, NY 10543                              3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Nathan & Pearl Halegua
       7.   c/o Jonis Realty
               6 Grace Ave, 4th Fl                                                                                                        Guaranteed
               Great Neck, NY 11021                              6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Neil Levy
       8.   36 Woodmont Road                                                                                                              Guaranteed
               Melville, NY 11747                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.9 Neil Ptashnik
       9.   40 Forest Lake Drive                                                                                                          Guaranteed
               West Harrison, NY 10604                           10,060.28                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Nellie Giblaint
       00. 10045 Waterford Way                                                                                                            Guaranteed
               Mobile, AL 36695                                  3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Nicholas Guerriero
       01. 7 Baltusrol Drive                                                                                                              Guaranteed
               Purchase, NY 10577                                6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 P & R Family LLC
       02. Attn: Rochelle Kesselman
               P.O. Box 549                                                                                                               Guaranteed
               West Hempstead, NY 11552                          3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Paul Bunt
       03. 21150 NE 38th Ave
               Apt 2901                                                                                                                   Guaranteed
               Aventura, FL 33180                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 PCJ Investments LLC
       04. Attn: Greg Blatt
               26 Flower House Drive                                                                                                      Guaranteed
               Fairfield, CT 06824                               6,709.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Pensco Trust Company
       05. FBO James Wacht
               600 Madison Ave                                                                                                            Guaranteed
               New York, NY 10022                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Pensco Trust Company
       06. FBO Howard Rosen
               P.O. Box 173859                                                                                                            Guaranteed
               Denver, CO 80217                                  3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 David S. Cohen
       07. 48 Chester Ct                                                                                                                  Guaranteed
               Cortlandt Manor, NY 10567                         6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Peter Dreyfuss
       08. 440 East 79th Street
               Apt 12B                                                                                                                    Guaranteed
               New York, NY 10075                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Peter Rosenthal
       09. 23 Percheron Lane                                                                                                              Guaranteed
               Roslyn Heights, NY 11577                          3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Philip Malakoff
       10. 23 Old Field Lane                                                                                                              Guaranteed
               Great Neck, NY 11020                              3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Philip Fiederlein
       11. 4 North Lane                                                                                                                   Guaranteed
               Mahopac, NY 10541                                 6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Philip Goldstein Living Trust
       12. P. Goldstein Trustee
               3975 Segwick Ave Apt 4H                                                                                                    Guaranteed
               Bronx, NY 10463                                   3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Phyllis C. Cohen Irrev. Trust
       13. David S. Cohen Trustee
               48 Chester Ct                                                                                                              Guaranteed
               Cortlandt Manor, NY 10567                         6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Ram Gupta
       14. 2123 Williamsbridge Road                                                                                                       Guaranteed
               Bronx, NY 10461                                   16,767.12                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Rejis Realty LLC
       15. c/o Mautner Glick Corp
               1345 Third Ave                                                                                                             Guaranteed
               New York, NY 10075                                50,301.36                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Rella Fogliano
       16. 438 Fifth Avenue                                                                                                               Guaranteed
               Pelham, NY 10803                                  67,068.48                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Richard Giliotti
       17. 7 Magnolia Drive                                                                                                               Guaranteed
               Purchase, NY 10577                                13,413.71                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 RNG WEA LLC
       18. Attn: Mitchell Newman
               3 Oxford Court                                                                                                             Guaranteed
               Morganville, NJ 07751                             13,413.71                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Robert Cicero
       19. 1 Fox Ridge Drive                                                                                                              Guaranteed
               New Milford, CT 06776                             6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Robert Feldman
       20. 1249 Veeder Drive                                                                                                              Guaranteed
               Hewlett, NY 11557                                 20,120.55                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Robert Hochman
       21. 75 Maiden Lane
               Suite 802                                                                                                                  Guaranteed
               New York, NY 10038                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Robert Rosen
       22. 1 Revere Lane                                                                                                                  Guaranteed
               Purchase, NY 10577                                6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Robert Rosenthal
       23. 1 Jericho Plaza
               Suite 201                                                                                                                  Guaranteed
               Jericho, NY 11753                                 30,180.80                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Rochelle Kesselman
       24. 317 Chestnut Street                                                                                                            Guaranteed
               West Hempstead, NY 11552                          3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Roger Colonna
       25. 24 Basswood Drive                                                                                                              Guaranteed
               Denville, NJ 07834                                13,413.71                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Roger Schneier
       26. 8167 Valhalla Drive                                                                                                            Guaranteed
               Delray Beach, FL 33446                            6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Ronald Garfunkel
       27. 127 Church Hill Road                                                                                                           Guaranteed
               Washington Depot, CT 06794                        10,060.28                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Ross Epstein
       28. 925 Monroe Lane                                                                                                                Guaranteed
               Hewlett Neck, NY 11598                            3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Ross Goldenberg
       29. 116 Storer Ave                                                                                                                 Guaranteed
               New Rochelle, NY 10801                            3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Ross Weissman
       30. 4 Cypress Point Drive                                                                                                          Guaranteed
               Purchase, NY 10577                                13,413.71                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Attis Properties Inc
       31. Attn: Michael Kohn
               500 Mamaroneck Ave, Suite
               320                                                                                                                        Guaranteed
               Harrison, NY 10528                                13,413.71                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Saulyco LLC
       32. Attn: Issac Stern
               220 Surrey Road                                                                                                            Guaranteed
               Hillside, NJ 07205                                3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Scott DeCarolis
       33. 26 Oak Drive                                                                                                                   Guaranteed
               Upper Saddle River, NJ 07458                      6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Shoshana Abramoff
       34. 4101 Pine Tree Drive
               Apt # 1726                                                                                                                 Guaranteed
               Miami Beach, FL 33140                             3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Six Six Holdings 62nd St LLC
       35. Att: Jordon Keltz
               49 East 21st Street, Apt 9D                                                                                                Guaranteed
               New York, NY 10010                                6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Stephen Nardoni
       36. 305 East 24th Street
               Apt LB                                                                                                                     Guaranteed
               New York, NY 10010                                4,010.94                                                4,010.94         Payments

               Relationship to debtor
               Member


       30.1 Stephen Wolinetz
       37. 900 Willis Ave                                                                                                                 Guaranteed
               Albertson, NY 11507                               3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Steven Napoli
       38. 66 Tintern Lane                                                                                                                Guaranteed
               Scarsdale, NY 10583                               3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 The Hyman Cohen REV Trust
       39. Attn: David Cohen
               1875 Julian Lane                                                                                                           Guaranteed
               Merrick, NY 11566                                 6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 The Joshua Epstein 2009
       40. Trust
               c/o Ross Epstein
               925 Monroe Lane                                                                                                            Guaranteed
               Hewlett Neck, NY 11598                            3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 The Payroll Store Investments
       41. Attn: Evan Steinbach
               575 Underhill Blvd, Suite 205                                                                                              Guaranteed
               Syosset, NY 11791                                 6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member




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               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Timothy Gold
       42. 4 Rolling Hill Rd                                                                                                              Guaranteed
               Old Westbury, NY 11568                            3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 TLM Holdings LLC
       43. 215 East 68th Street
               Apt #17-Y                                                                                                                  Guaranteed
               New York, NY 10065                                10,060.28                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 William Bonomo
       44. 21 Sunset Blvd                                                                                                                 Guaranteed
               Massapequa, NY 11758                              10,060.28                                               6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 William Jebaily
       45. 81 Iron Mine Drive                                                                                                             Guaranteed
               Staten Island, NY 10304                           6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Yehuda Biber
       46. 1016 Crestwood Rd                                                                                                              Guaranteed
               Woodmere, NY 11598                                6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Yoser & Elisheva Oratz
       47. 201 Davis Avenue                                                                                                               Guaranteed
               White Plains, NY 10605                            6,706.84                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


       30.1 Zachary Stone
       48. 1 Upland Woods Circle
               #301                                                                                                                       Guaranteed
               Norwood, MA 02062                                 3,353.41                                                6/1/17-10/1/17   Payments

               Relationship to debtor
               Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.


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 Debtor      163-165 East 62nd Street Holding LLC                                                       Case number (if known)



    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 7, 2018

 /s/ Michael P. D'Alessio                                               Michael P. D'Alessio
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 28
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       163-165 East 62nd Street Holding LLC                                                             Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                     5,000.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Michael Paul Enterprises LLC

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           N/A

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               N/A
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 7, 2018                                                                  /s/ Sanford P. Rosen
     Date                                                                          Sanford P. Rosen (SR-4966)
                                                                                   Signature of Attorney
                                                                                   Rosen & Associates, P.C.
                                                                                   747 Third Avenue
                                                                                   Floor 20
                                                                                   New York, NY 10017-2803
                                                                                   (212) 223-1100 Fax: (212) 223-1102
                                                                                   srosen@rosenpc.com
                                                                                   Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      163-165 East 62nd Street Holding LLC                                                       Case No.
                                                                                   Debtor(s)           Chapter      7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 7, 2018                                               /s/ Michael P. D'Alessio
                                                                        Michael P. D'Alessio/Manager
                                                                        Signer/Title




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                           1516 REALTY GROUP LLC
                           97-77 QUEENS BLVD, TWR 3
                           REGO PARK, NY 11374


                           ADAM FIELDS
                           9769 APRICOT LANE
                           BEVERLY HILLS, CA 90210


                           ALLAN MILLER
                           12 NORTH LANE DRIVE
                           ARMONK, NY 10504


                           ANDREW WEST
                           33 GATEWAY DRIVE
                           GREAT NECK, NY 11021


                           ANITA GUPTA
                           2123 WILLIAMSBRIDGE ROAD
                           BRONX, NY 10461


                           ANTHONY BASTONE
                           1913 BRONXDALE AVE
                           BRONX, NY 10462


                           ANTHONY BONOMO JR.
                           10 WALTER LANE
                           MANHASSET, NY 11030


                           ANTHONY BONOMO SR.
                           10 WALTER LANE
                           MANHASSET, NY 11030


                           ANTONIO ZAINO
                           7 SOUTH RIDGE ROAD
                           BROOKFIELD, CT 06804


                           ARNOLD WALDMAN
                           581 LEHEIGH LANE
                           WOODMERE, NY 11598


                           ATTIS PROPERTIES INC
                           ATTN: MICHAEL KOHN
                           500 MAMARONECK AVE, SUITE 320
                           HARRISON, NY 10528
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                       BARBARA FIEDERLEIN TRUST,
                       DAVID FIEDERLEIN, TRUSTEE
                       56 MAJESTIC RIDGE
                       CARMEL, NY 10512


                       BARRY BLITSTEIN
                       55 OCEAN AVENUE, #6B
                       MONMOUTH BEACH, NJ 07750


                       BARRY DRUCKER
                       20 LONG LEDGE DRIVE
                       RYE BROOK, NY 10573


                       BARRY IPP
                       27 WEST ROCK TRAIL
                       STAMFORD, CT 06902


                       BRUCE AZUS
                       9 BENSIN DRIVE
                       MELVILLE, NY 11747


                       CANZONE CONTRACTING CORP
                       218 W. LINCOLN AVE
                       MOUNT VERNON, NY 10550


                       CARL BONOMO
                       49 HARVARD DRIVE
                       PLAINVIEW, NY 11803


                       CARMINE LIPPOLIS
                       25 SEVENTH STREET
                       PELHAM, NY 10803


                       CAROL MERKEL
                       323 POLARIS STREET
                       DAUPHIN ISLAND, AL 36528


                       CHANTAL PICK
                       866 EVERGREEN DRIVE
                       WEST HEMPSTEAD, NY 11552


                       CHARLES BAROVIAN
                       1763 WEST 9TH STREET
                       BROOKLYN, NY 11223
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                       CLIFFORD & GAIL BASSETT
                       535 EAST 86TH STREET
                       APT #6J
                       NEW YORK, NY 10028


                       COHEN CHILDREN TRUST, DAVID
                       COHEN TRUSTEE
                       1875 JULIAN LANE
                       MERRICK, NY 11566


                       CONRAD STROHL
                       2 LARCH LANE
                       MARLBORO, NJ 07746


                       CY BLANCO
                       104 MILDRED PARKWAY
                       NEW ROCHELLE, NY 10804


                       CYNTHIA PETRETTI
                       4 NORTH LANE
                       MAHOPAC, NY 10541


                       DANIEL RIFKIN
                       P.O. BOX 9338
                       BARDONIA, NY 10954


                       DARREN KAY
                       19 FELLS DRIVE
                       MANALAPAN, NJ 07726


                       DAVID & SUSAN DIAMOND
                       3677 EAST TREMONT AVE
                       BRONX, NY 10465


                       DAVID BAUER
                       31 DEEPWOOD ROAD
                       WILTON, CT 06897


                       DAVID KATZ
                       19 COB DRIVE
                       WESTPORT, CT 06880


                       DAVID LEVY
                       25 WREN DRIVE
                       ROSLYN, NY 11576
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                       DAVID S. COHEN
                       48 CHESTER CT
                       CORTLANDT MANOR, NY 10567


                       DAVID TESSER
                       1800 MERRICK ROAD
                       MERRICK, NY 11566


                       DENNIS KORCHINSKI
                       38 RED OAK ROAD
                       FAIRFIELD, CT 06824


                       DIAMOND ENTERPRISES LLC
                       3677 EAST TREMONT AVE
                       BRONX, NY 10465


                       DODD FARBER
                       27 WAMPUS LAKE DRIVE
                       ARMONK, NY 10504


                       DONALD KONRAD
                       68 PEARL FARM ROAD
                       STAMFORD, CT 06902


                       DOUGLAS SCIBELLI
                       124 LUDLOW STREET
                       APT 4C
                       NEW YORK, NY 10002


                       DOV KESSELMAN
                       317 CHESTNUT STREET
                       WEST HEMPSTEAD, NY 11552


                       ED TESSER
                       2536 ARMY PLACE
                       BELLMORE, NY 11710


                       ELIZABETH ARMSTRONG
                       10041 SASSER LANE
                       MOBILE, AL 36695


                       ERIN DIAMOND
                       3677 EAST TREMONT AVE
                       BRONX, NY 10465
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                       FALLON ROSE LLC
                       ATTN: OWEN GRANT
                       82 WELLINGTON ROAD
                       GARDEN CITY, NY 11530


                       FIEDERLEIN FAMILY 2012 GIFT TR
                       UST, B. FIEDERLEIN TRUSTEE
                       56 MAJESTIC RIDGE
                       CARMEL, NY 10512


                       FRIEDRICKS ASSOCIATES LTD
                       ATTN: DARRYL FRIEDRICK
                       235 W 76TH STREET, #5E
                       NEW YORK, NY 10023


                       GERALD LEVY
                       C/O NEIL LEVY
                       36 WOODMONT RD
                       MELVILLE, NY 11747


                       GLENN MESSINGER
                       5 CLIPPER WAY
                       MARBLEHEAD, MA 01945


                       GOLDEN TOUCH INVESTMENTS LLC
                       343 SPERRY ROAD
                       BETHANY, CT 06524


                       GRANT & FOX LLC
                       139 FULTON STREET
                       ROOM 907
                       NEW YORK, NY 10038


                       GREGORY CALABRO
                       22 ESSEX ROAD
                       MAPLEWOOD, NJ 07040


                       HARRILYN DOLMAN
                       215 MONTECITO CRESCENT
                       MELVILLE, NY 11747


                       HARVEY STEVENS
                       8 EAST 83RD STREET
                       APT 10F
                       NEW YORK, NY 10028
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                       HERMINIO TORRES
                       6916 58TH ROAD
                       MASPETH, NY 11378


                       HEWLETT TRADING CO LLC
                       ATTN: RICHARD BERMAN
                       3421 HEWLETT AVENUE
                       MERRICK, NY 11566


                       HOWARD ROSEN
                       4 HORIZON ROAD # 1006
                       FORT LEE, NJ 07024


                       INTEGRATED ELECTRONIC
                       SOLUTIONS INC
                       1053 SAW MILL RIVER RD
                       YONKERS, NY 10710


                       JACK PERLMAN
                       35 WEST 94TH STREET
                       NEW YORK, NY 10025


                       JACLYN BONOMO
                       10 WALTER LANE
                       MANHASSET, NY 11030


                       JACQUELINE MARTINEZ
                       9 THOMAS DRIVE
                       HAUPPAUGE, NY 11788


                       JASON GRIFFITH
                       66 HILLSIDE CRESCENT
                       NEW ROCHELLE, NY 10804


                       JEFFREY MORTMAN
                       2 STRATTON DRIVE
                       WAYNE, NJ 07470


                       JEFFREY PINSKY
                       22 HIGHFIELD AVENUE
                       PORT WASHINGTON, NY 11050


                       JERRY PINSKY
                       163 PONDVIEW DRIVE
                       PORT WASHINGTON, NY 11050
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                       JOHN BONITO
                       9 HALOCK DRIVE
                       GREENWICH, CT 06831


                       JOHN CANNON
                       15 FARMINGTON LANE
                       MELVILLE, NY 11747


                       JOHN ERNENWEIN
                       51 OSBORNE ROAD
                       GARDEN CITY, NY 11530


                       JON HANSBURG
                       19 SMITH FARM ROAD
                       BEDFORD, NY 10506


                       JOSEPH BREDA
                       438 FIFTH AVE
                       PELHAM, NY 10803


                       JOSEPH DINOIA
                       15833 DOUBLE EAGLE TRAIL
                       DELRAY BEACH, FL 33446


                       JOSH MANSON
                       54 THE OAKS
                       ROSLYN, NY 11576


                       JOSHUA & ANGIE BROWN
                       15 TALLY HO LANE
                       STAMFORD, CT 06905


                       JUDAH HAMMER
                       301 EASTWOOD ROAD
                       WOODMERE, NY 11598


                       JULIANNE BONOMO
                       10 WALTER LANE
                       MANHASSET, NY 11030


                       KEITH HUMMEL
                       10 CARRIAGE HILL ROAD
                       WEST HARRISON, NY 10604
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                       KLEIN WEALTH MGMT HIGHTOWER
                       445 BROAD HOLLOW RD
                       SUITE 332
                       MELVILLE, NY 11747


                       KURT VOELLMICKE
                       20 BELVEDERE COURT
                       RIDGEFIELD, CT 06877


                       LAW OF JUDD R. SPRAY
                       450 SEVENTH AVE, 33RD FL
                       NEW YORK, NY 10123


                       LAWRENCE & FARA TESSER
                       1968 MELTHEW CT
                       MERRICK, NY 11566


                       LAWRENCE DOLIN
                       11 SANDS COURT
                       PORT WASHINGTON, NY 11050


                       LILLIAN FAZIO
                       8716 CRYSTAL ROCK LANE
                       LAUREL, MD 20708


                       LISA WEST
                       33 GATEWAY DRIVE
                       GREAT NECK, NY 11021


                       LUIS FLORES
                       11594 N. QUANDRY DR
                       TUCSON, AZ 85737


                       LUISE BARRACK
                       47 BEECHWOOD ROAD
                       IRVINGTON, NY 10533


                       MAF REALTY VENTURES LLC
                       ATTN: MICHAEL FINAMORE
                       8 ENGINEERS ROAD
                       ROSLYN, NY 11576


                       MARIA PEDERSEN
                       12 BYRAM MEADOWS
                       CHAPPAQUA, NY 10514
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                       MARILYN SHENDELL
                       7 SUNRISE DRIVE
                       ARMONK, NY 10504


                       MARK ENGEL
                       1 FOREST DRIVE
                       PORT WASHINGTON, NY 11050


                       MARY MIDDELTON
                       3930 GRAND AVE #308
                       DES MOINES, IA 50312


                       MATTHEW ENGEL
                       19 SOUNDVIEW
                       PORT WASHINGTON, NY 11050


                       MICHAEL & VIRGINIA SALVEMINI
                       51 STONEY DRIVE
                       PALM BEACH GARDENS, FL 33410


                       MICHAEL BURDEN
                       45 STONEWALL CIRCLE
                       WEST HARRISON, NY 10604


                       MICHAEL EIGNER
                       3674 TOULOUSE DRIVE
                       PALM BEACH GARDENS, FL 33410


                       MICHAEL KESSELMAN
                       317 CHESTNUT STREET
                       WEST HEMPSTEAD, NY 11552


                       MICHAEL P. D'ALESSIO
                       265 EAST 66TH STREET
                       APT 28F
                       NEW YORK, NY 10065


                       MICHAEL SHENKER
                       113 HARRISON ROAD
                       WAYNE, NJ 07470


                       MICHELE DEFRANCO
                       27 VALLEY TERRACE
                       RYE BROOK, NY 10573
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                       MONICA SPIER REV.TRUST U/A
                       7/29/14, MONICA SPIER TRUSTEE
                       120 BENNETT AVE. APT 4L
                       NEW YORK, NY 10033


                       NADIA NEDELCHEVA
                       835 WOODBINE AVE
                       MAMARONECK, NY 10543


                       NATHAN & PEARL HALEGUA
                       C/O JONIS REALTY
                       6 GRACE AVE, 4TH FL
                       GREAT NECK, NY 11021


                       NEIL LEVY
                       36 WOODMONT ROAD
                       MELVILLE, NY 11747


                       NEIL PTASHNIK
                       40 FOREST LAKE DRIVE
                       WEST HARRISON, NY 10604


                       NELLIE GIBLAINT
                       10045 WATERFORD WAY
                       MOBILE, AL 36695


                       NICHOLAS GUERRIERO
                       7 BALTUSROL DRIVE
                       PURCHASE, NY 10577


                       P & R FAMILY LLC
                       ATTN: ROCHELLE KESSELMAN
                       P.O. BOX 549
                       WEST HEMPSTEAD, NY 11552


                       PAUL BUNT
                       21150 NE 38TH AVE
                       APT 2901
                       AVENTURA, FL 33180


                       PCJ INVESTMENTS LLC
                       ATTN: GREG BLATT
                       26 FLOWER HOUSE DRIVE
                       FAIRFIELD, CT 06824
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                       PENSCO TRUST COMPANY
                       FBO HOWARD ROSEN
                       P.O. BOX 173859
                       DENVER, CO 80217


                       PENSCO TRUST COMPANY
                       FBO JAMES WACHT
                       600 MADISON AVE
                       NEW YORK, NY 10022


                       PETER DREYFUSS
                       440 EAST 79TH STREET
                       APT 12B
                       NEW YORK, NY 10075


                       PETER ROSENTHAL
                       23 PERCHERON LANE
                       ROSLYN HEIGHTS, NY 11577


                       PHILIP FIEDERLEIN
                       4 NORTH LANE
                       MAHOPAC, NY 10541


                       PHILIP GOLDSTEIN LIVING TRUST
                       P. GOLDSTEIN TRUSTEE
                       3975 SEGWICK AVE APT 4H
                       BRONX, NY 10463


                       PHILIP MALAKOFF
                       23 OLD FIELD LANE
                       GREAT NECK, NY 11020


                       PHYLLIS C. COHEN IRREV. TRUST
                       DAVID S. COHEN TRUSTEE
                       48 CHESTER CT
                       CORTLANDT MANOR, NY 10567


                       RAM GUPTA
                       2123 WILLIAMSBRIDGE ROAD
                       BRONX, NY 10461


                       REJIS REALTY LLC
                       C/O MAUTNER GLICK CORP
                       1345 THIRD AVE
                       NEW YORK, NY 10075
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                       RELLA FOGLIANO
                       438 FIFTH AVENUE
                       PELHAM, NY 10803


                       RICHARD GILIOTTI
                       7 MAGNOLIA DRIVE
                       PURCHASE, NY 10577


                       RNG WEA LLC
                       ATTN: MITCHELL NEWMAN
                       3 OXFORD COURT
                       MORGANVILLE, NJ 07751


                       ROBERT CICERO
                       1 FOX RIDGE DRIVE
                       NEW MILFORD, CT 06776


                       ROBERT FELDMAN
                       1249 VEEDER DRIVE
                       HEWLETT, NY 11557


                       ROBERT HOCHMAN
                       75 MAIDEN LANE
                       SUITE 802
                       NEW YORK, NY 10038


                       ROBERT ROSEN
                       1 REVERE LANE
                       PURCHASE, NY 10577


                       ROBERT ROSENTHAL
                       1 JERICHO PLAZA
                       SUITE 201
                       JERICHO, NY 11753


                       ROCHELLE KESSELMAN
                       317 CHESTNUT STREET
                       WEST HEMPSTEAD, NY 11552


                       ROGER COLONNA
                       24 BASSWOOD DRIVE
                       DENVILLE, NJ 07834
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                       ROGER SCHNEIER
                       8167 VALHALLA DRIVE
                       DELRAY BEACH, FL 33446


                       RONALD GARFUNKEL
                       127 CHURCH HILL ROAD
                       WASHINGTON DEPOT, CT 06794


                       ROSENFELD & KAPLAN LLP
                       1180 AVE OF THE AMERICAS
                       SUITE 1920
                       NEW YORK, NY 10036


                       ROSS EPSTEIN
                       925 MONROE LANE
                       HEWLETT NECK, NY 11598


                       ROSS GOLDENBERG
                       116 STORER AVE
                       NEW ROCHELLE, NY 10801


                       ROSS WEISSMAN
                       4 CYPRESS POINT DRIVE
                       PURCHASE, NY 10577


                       SAULYCO LLC
                       ATTN: ISSAC STERN
                       220 SURREY ROAD
                       HILLSIDE, NJ 07205


                       SCOTT DECAROLIS
                       26 OAK DRIVE
                       UPPER SADDLE RIVER, NJ 07458


                       SHOSHANA ABRAMOFF
                       4101 PINE TREE DRIVE
                       APT # 1726
                       MIAMI BEACH, FL 33140


                       SIX SIX HOLDINGS 62ND ST LLC
                       ATT: JORDON KELTZ
                       49 EAST 21ST STREET, APT 9D
                       NEW YORK, NY 10010
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                       STEPHEN NARDONI
                       305 EAST 24TH STREET
                       APT LB
                       NEW YORK, NY 10010


                       STEPHEN WOLINETZ
                       900 WILLIS AVE
                       ALBERTSON, NY 11507


                       STEVEN NAPOLI
                       66 TINTERN LANE
                       SCARSDALE, NY 10583


                       THE HYMAN COHEN REV TRUST
                       ATTN: DAVID COHEN
                       1875 JULIAN LANE
                       MERRICK, NY 11566


                       THE JOSHUA EPSTEIN 2009 TRUST
                       C/O ROSS EPSTEIN
                       925 MONROE LANE
                       HEWLETT NECK, NY 11598


                       THE PAYROLL STORE INVESTMENTS
                       ATTN: EVAN STEINBACH
                       575 UNDERHILL BLVD, SUITE 205
                       SYOSSET, NY 11791


                       TIMOTHY GOLD
                       4 ROLLING HILL RD
                       OLD WESTBURY, NY 11568


                       TLM   HOLDINGS LLC
                       215   EAST 68TH STREET
                       APT   #17-Y
                       NEW   YORK, NY 10065


                       WILLIAM BONOMO
                       21 SUNSET BLVD
                       MASSAPEQUA, NY 11758


                       WILLIAM JEBAILY
                       81 IRON MINE DRIVE
                       STATEN ISLAND, NY 10304
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                       YEHUDA BIBER
                       1016 CRESTWOOD RD
                       WOODMERE, NY 11598


                       YOSER & ELISHEVA ORATZ
                       201 DAVIS AVENUE
                       WHITE PLAINS, NY 10605


                       ZACHARY STONE
                       1 UPLAND WOODS CIRCLE
                       #301
                       NORWOOD, MA 02062
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      163-165 East 62nd Street Holding LLC                                                          Case No.
                                                                                  Debtor(s)               Chapter      7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 163-165 East 62nd Street Holding LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 June 7, 2018                                                         /s/ Sanford P. Rosen
 Date                                                                 Sanford P. Rosen (SR-4966)
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for 163-165 East 62nd Street Holding LLC
                                                                      Rosen & Associates, P.C.
                                                                      747 Third Avenue
                                                                      Floor 20
                                                                      New York, NY 10017-2803
                                                                      (212) 223-1100 Fax:(212) 223-1102
                                                                      srosen@rosenpc.com




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